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                                                     24-5538-CV

                                   UNITED STATES COURT OF APPEALS
                                           FOR THE NINTH CIRCUIT

                                              NEO4J, INC., ET AL.,
                                                                Plaintiffs-Appellees,
                                                          v.
                                                  SUHY, ET AL.,
                                                               Defendants-Appellants.


                        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA.
               ___________________________________________________________________________________________


                   MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF BY
                SOFTWARE CONSERVANCY, INC. IN SUPPORT OF DEFENDANTS-
                                    APPELLANTS
               ___________________________________________________________________________________________


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                        Software Freedom Conservancy, Inc. (“SFC”) respectfully moves for leave

              to file the accompanying amicus curiae brief in support of the Defendants-

              Appellants.

                        SFC is a Section 501(c)(3) nonprofit that, for over a decade has, advocated

              for software freedom. Software freedom is perhaps best described by four

              fundamental freedoms: to run software for any purpose, to study and modify

              software, to redistribute software, and to share the modified versions of software.

              This freedom relies on the public’s ability to access, modify, and share the

              software’s “source code” because, for all practical purposes, it may only be

              analyzed and modified through its source code. As part of its mission, SFC fosters

              free and open source software (“FOSS”) projects, serving as the fiscal sponsor for

              over three dozen such projects.

                        Software freedom and FOSS projects are made possible by “copyleft”

              software licenses, which are crafted to ensure that software remains free. The best-

              known, and perhaps most important, “copyleft” software licenses are the GNU

              General Public Licenses family of licenses (“GPLs”). Most of SFC’s FOSS

              projects rely on one or more of the GPLs, including the GPL at issue in this case,

              the GNU Affero General Public License version 3 (“AGPL”).

                        Sometimes, a software producer tries to distribute software under a modified

              version of a GPL. There is a danger that such modifications will restrict software
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              freedoms guaranteed by the GPLs. Several of the GPLs, therefore, including the

              AGPL, however, give licensees the right to remove most provisions that restrict the

              licensees’ rights under the GPL. In this case, however, the district court interpreted

              the AGPL to limit that right in a way that, in SFC’s view, reads the right out of the

              license agreement and thus weakens software freedom. Since this right is found in

              many other GPLs, SFC is concerned that if left to stand, this ruling will damage the

              entire edifice of software freedom built on the GPLs.

                        This motion is timely. The Defendants-Appellants and the Plaintiffs-

              Appellees have consented to an extension of time, through and including January

              10, 2025, to file this motion. SFC timely filed an Unopposed Motion for Extension

              of Time (D.E. 23) on December 27, 2024, requesting such relief.

                        SFC has sought the consent of the parties to this matter to file an amicus

              curiae brief. Defendants-Appellants have so consented, but Plaintiffs-Appellees

              have not. To the extent that Plaintiffs-Appellees believe that this brief can is futile

              because this Court has already affirmed the lower court’s interpretation of the

              AGPL provisions discussed therein, this view is mistaken. The Court’s prior

              memorandum opinion in this case affirmed the lower court’s granting of a

              preliminary injunction to the Plaintiffs-Appellees. But “[i]n general … our

              decisions at the preliminary injunction phase do not constitute the law of the case.”

              Ctr. for Biological Diversity v. Salazar, 706 F.3d 1085, 1090 (9th Cir. 2013).

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              Although there are exceptions to this rule, they are narrow and present a high bar

              that SFC does not believe the prior Memorandum Opinion clears.

                        Therefore, for the foregoing reasons, this motion for leave should be granted

              and SFC permitted to file the accompanying amicus curiae brief in this matter.




               Dated: Jan. 10, 2025                            Respectfully submitted,
               St. Petersburg, FL                              _____s/Aaron Williamson____
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                                    CERTIFICATE OF COMPLIANCE

               I hereby certify that the foregoing motion uses a proportionately-spaced, 14-point

               font and contains 520 words according to the count of the word processing

               program used to compose this motion. It therefore complies with FRAP

               27(d)(1)(D), (E) & (2)(A) and with Circuit Rule 27-1.


                                                            /s/ Aaron Williamson

                                                            Counsel for Amicus Curiae Software
                                                            Freedom Conservancy, Inc.




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                                               CERTIFICATE OF SERVICE

                        I hereby certify that I electronically filed the foregoing with the Clerk of the

              Court for the United States Court of Appeals for the Ninth Circuit by using ACMS

              on January 10, 2025.

                        All participants in the case are registered ACMS users and will be served by

              ACMS.

               Dated: January 10, 2025                          _____s/Aaron Williamson____
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